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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



NATHAN DYKMAN,                                       Case No. 3:20-cv-01547-IM

         Plaintiff,                                  JUDGMENT

 v.

LIFE INSURANCE COMPANY OF
NORTH AMERICA,

         Defendant.


        Based on the Court’s Findings of Fact and Conclusions of Law, ECF [26], IT IS

ADJUDGED that this case is reversed and remanded for reinstatement and payment of Long-

Term Disability Benefits under the Plan for the period from March 7, 2019 to March 7, 2021 and

for a determination of eligibility past that date.



        DATED this 8th day of November, 2021.

                                                     /s/ Karin J. Immergut
                                                     Karin J. Immergut
                                                     United States District Judge
